             Case 1:04-cr-05362-DAD Document 119 Filed 04/12/17 Page 1 of 2


 1   SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2   4974 N. Fresno St., #551
     Fresno, California, 93726
 3   Telephone: 559.233.1000
     Facsimile: 559.702.6697
 4   Email: salsciandra@sbcglobal.net
 5   Attorney for Defendant, ANDREW VALENZUELA
 6

 7

 8                      IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                        CASE NO. 1:04-05362-02-DAD
11                 Plaintiff,                         STIPULATION TO CONTINUE
                                                      SENTENCING AND ORDER
12   v.

13
                                                      DATE: May 30, 2017
14   ANDREW VALENZUELA,                               TIME: 10:00 a.m.
                                                      COURT: HON. DALE A. DROZD
15                 Defendant.
16

17
                   The parties hereto, by and through their respective attorneys, stipulate that the
18

19   sentencing hearing in this action be continued from May 22, 2017 to May 30, 2017 at the hour of

20   10:00 am before the Honorable Dale A. Drozd. This stipulation is needed because counsel for

21   defendant inadvertently set sentencing in this matter on a day when he had been previously
22
     scheduled to be on a brief prepaid and nonrefundable vacation.
23
            The proposed date is the earliest possible setting, based on the Court’s criminal law and
24
     motion calendar.
25

26
     Dated: April 11, 2017                               /s/ Salvatore Sciandra
27                                                       Attorney For Defendant
                                                         ANDREW VALENZULEA
28
                Case 1:04-cr-05362-DAD Document 119 Filed 04/12/17 Page 2 of 2

     Dated: April 11, 2017                                Phillip Talbert
 1                                                        Acting United States Attorney
                                                          By: /s/ Laurel Montoya
 2                                                        Approved by email on April 10, 2017
 3

 4
                                                  ORDER
 5
            The court has reviewed and considered the stipulation of the parties and good cause
 6

 7   appearing, IT IS ORDERED that the sentencing hearing in this matter be set on May 30, 2017 at

 8   10:00 AM. The schedule for the filing of informal and formal objections to remain as previously

 9   ordered.
10
     IT IS SO ORDERED.
11

12      Dated:     April 11, 2017
                                                       UNITED STATES DISTRICT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
